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Case 04-03774 Doc3 _ Filed 10/12/04 Entered 10/12/04 15:51:15 Desc Adversary
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Op250B
UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF ILLINOIS
In re : Bankruptcy Case No. 04-B~24393
Vicki E. Esralew, Debtor
Chapter 7

Rollin. J. Soskin, Eugene Terry, Plaintiffs
Nicole Terry and Terry's Company, Inc.
' Adversary Proceeding No.

Robert Aren, Defendant 3 9
SUMMONS IN AN ADVERSARY O4A0 ” 4

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is attached to this summons with
_ the clerk of the bankruptcy court within 30 days after the date ofissuance of this summons, except that the United States and
its offices and agencies shall file a motion or answer to the complaint within 35 days =

Address of Clerk
United States Bankruptcy Court

219 S. Dearborn Street, 7th Floor
Chicago, Illinois 60604

At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attomey.

Name and Address of Plaintiff's Attorney

Thomas C. Crooks
Three First National Plaza, Suite !950
Chicago, Illinois 60602

If you make a motion, your time to answer is governed by Fed.R. BankrP. 7012.

YOU ARE NOTIFIED that a status hearing has been éet at the following time and place.

GOLDGAR
FRIDAY, NOVEMBER 19TH, 2604 AT 1:30 P.M. Date and Time

IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR

CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY

DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.
Kenneth S. Gardner _.

OCT 12.2006 Cpe“

_ By: ¥
Date Deputy Clerk |

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Address of Clerk

United States Bankruptcy Court
219 S. Dearborn Street, 7th Floor
Chicago, Illinois 60604

At the same time, you must also serve a copy of the motion or answer upon the plaintifP’s attomey.
Name and Address of Plaintiff's Atomey :

Thomas GC. Crooks
’ Three First National Plaza, Suite 1950
Chicago, Illinois 60602

ifyou make @ motion, your time to answer is governed by Fed. R. Bankr P. 7012.

YOU ARENOTIIED that sts eating bas been tate following tne md place.

—

HONORABLE JUDGE A BENJAMIN GOLDGAR sO

! FRIDAY, NOVEMBER 19TH, 2004 AT 1:30 P.M.
LAKE COUNTY COURTHOUSE, 18 NORTH COUNTY STREET [Date and Time

’ ANNEX BLALDING, COURTROOM 206
WAUKEGAN, ILLINOIS 60085

IF YOU FAIL TO RESPOND TO. THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR
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~__ Kenneth S. Gardner

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OB 2505
UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF ILLINOIS
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Vicki E. Esralew, Debtor '
Chapter 7

~Rollin.J. Soskin, Eugene Terry, Plaintiffs
‘Nicole Terry and Terry's Company, Inc.

Robert Aren, Defendant 62K 3) ¢ "7 4

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Address of Clerk
United States Bankruptcy Court

219 S. Dearborn Street, 7th Floor
Chicago, Illinois 60604

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Name and Address of Plaintiff's Atiomey :

Thomas C. Crooks
' Three First National Plaza, Suite 1950
Chicago, Illinois 60602

Ifyou make a motion, your time to answer is governed by Fed.R. Bankr P. 7012...

YOU ARE NOTIFIED that a status hearing has been set at the following time and place. .

HONORABLE JUDGE A BENJAMIN GOLDGAR
FRIDAY, NOVEMBER 19TH, 2004 AT 1:30 P.M.
LAKE COUNTY COURTHOUSE, 13 NORTH COUNTY STREET te and Time
ANNEX BUILDING, COURTROOM 266 Date
WAUKEGAN, ILLINGIS 60085

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ennéth S. Gardner
remy Cpa "Te

V Deputy Clerk

